Case 5:21-cv-01291-JKP-HJB Document 20 Filed 03/18/22 Page 1 of 2

FILED

     
  

MAR 1 8 2020
IN THE UNITED STATES DISTRICT COURT /GLERK U8, crot
FOR THE WESTERN DISTRICT OF TEXAS By TERN Dis ERK

 

SAN ANTONIO DIVISION

JOHN GLENN GUTHRIE, CIVIL ACTION NO. 5:21-cv-01291
PLAINTIFF

Vs

Ocwen Loan Servicing, LLC,
RealHome Services and Solutions
Inc., Altisource, Premium Title
Services - Texas Title, Hubzu.com,
DEFENDANTS

WITHDRAWAL OF MOTION FOR DEFAULT JUDGMENT AGAINST ALTISOURCE

PLAINTIFF withdraws his motion above.

Attorney for the Defendant (Schmoyer and Reinhard) REALHOME SERVICES AND
SOLUTIONS has brought it to the Plaintiff's attention that, although the Bexar Court Clerk
shows that ALTISOURCE (ALTISOURCE SOLUTIONS, INC.) did not respond to the citation
they were served, they actually are the attorney of record and did file a response with the Court
on December 13, 2021. Plaintiff missed this filing somehow.

Further noted, this same response was also filed on behalf of another Defendant as well -
PREMIUM TITLE (PREMIUM TITLE - TEXAS TITLE), who the Bexar Court Clerk shows as “not
served.”

Respectfully,

plo WU,

JOHN GLENN GUTHRIE
PLAINTIFF, Pro Se
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CERTIFICATE OF SERVICE

| hereby certify that on this 7th day of March, 2022, a true and correct copy of the foregoing
document was served on the following via CMRRR according to the Federal Rules of Civil

Procedure.

B. David L. Foster Robert T. Mowrey

Locke and Lord LLP Locke and Lord LLP

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Vincent Hess Annalynn G. Smith

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WITHDRAWAL OF MOTION FOR DEFAULT JUDGMENT - 2
